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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                                 Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                             Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                 Defendants.


             [PROPOSED] ORDER GRANTING PRO HAC VICE ADMISSION OF
                               JOSHUA A. MATZ

          Upon review and consideration of Plaintiffs’ motion for pro hac vice admission of Joshua

   A. Matz, Esq., and it appearing that Mr. Matz is licensed to practice law and is a bar member in
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   good standing with the State of New York and District of Columbia and thus qualified to appear

   for and on behalf of the Plaintiffs in this Action,

          IT IS HEREBY ORDERED that attorney Joshua A. Matz of Kaplan & Company, LLP

   shall be permitted to appear pro hac vice for and on behalf of Plaintiffs in the above styled and

   numbered Civil Action, and able to appear at hearings or trials in the absence of an associated

   member of the bar of this Court. The Clerk of the Court is hereby directed to send a certified

   copy of this Order to Plaintiffs, Defendants, and all counsel of record.



          Entered this _____ day of February 2018.



                                                  _____________________________________
                                                  The Honorable Norman K. Moon
                                                  United States District Judge




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